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                                                        - 661 -
                             Nebraska Court of Appeals Advance Sheets
                                  32 Nebraska Appellate Reports
                                  MCCROY V. NEBRASKA DEPT. OF CORR. SERVS.
                                             Cite as 32 Neb. App. 661



                                Barry McCroy, appellant, v. Nebraska
                                    Department of Correctional
                                         Services, appellee.
                                                    ___ N.W.2d ___

                                        Filed February 20, 2024.   No. A-22-871.

                 1. Habeas Corpus: Appeal and Error. On appeal of a habeas corpus peti-
                    tion, an appellate court reviews the trial court’s factual findings for clear
                    error and its conclusions of law de novo.
                 2. Rules of the Supreme Court: Appeal and Error. Depending on the
                    particulars of each case, failure to comply with the mandates of Neb.
                    Ct. R. App. P. § 2-109(D) (rev. 2022) may result in an appellate court
                    waiving the error, proceeding on a plain error review only, or declining
                    to conduct any review at all.
                 3. Appeal and Error. Plain error may be found on appeal when an error
                    unasserted or uncomplained of at trial is plainly evident from the record,
                    affects a litigant’s substantial right, and, if uncorrected, would result in
                    damage to the integrity, reputation, and fairness of the judicial process.
                 4. Habeas Corpus: Prisoners. Challenges to the validity of a prisoner’s
                    confinement or to particulars affecting its duration are the province of
                    habeas corpus.
                 5. Habeas Corpus. A writ of habeas corpus is a statutory remedy in
                    Nebraska that is available to those persons falling within the criteria
                    established by Neb. Rev. Stat. § 29-2801 (Cum. Supp. 2022), namely,
                    those who are detained without having been convicted of a crime and
                    committed for the same, those who are unlawfully deprived of their lib-
                    erty, or those who are detained without any legal authority.
                 6. ____. The habeas corpus writ provides illegally detained prisoners with
                    a mechanism for challenging the legality of a person’s detention, impris-
                    onment, or custodial deprivation of liberty.

                 Appeal from the District Court for Douglas County: Tressa
               M. Alioth, Judge. Reversed and remanded with directions.
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
          MCCROY V. NEBRASKA DEPT. OF CORR. SERVS.
                     Cite as 32 Neb. App. 661
  Barry McCroy, pro se.
  Michael T. Hilgers, Attorney General, Scott R. Straus, and
Gabrielle Baratta, Senior Certified Law Student, for appellee.
  Riedmann, Arterburn, and Welch, Judges.
  Welch, Judge.
                       INTRODUCTION
   Barry McCroy appeals the Douglas County District Court’s
dismissal of his petition for a writ of habeas corpus, contend-
ing that he was being confined by the Nebraska Department
of Correctional Services (DCS) beyond the term of his sen-
tence. For the reasons set forth herein, we reverse, and remand
with directions.
                   STATEMENT OF FACTS
   The statement of facts is taken from the allegations con-
tained in McCroy’s petition for a writ of habeas corpus.
   In 2004, McCroy received a sentence of 18 to 20 years’
imprisonment for robbery, which sentence also carried a 10-year
mandatory minimum due to McCroy’s status as a habitual
criminal (original sentence). McCroy’s release/discharge date
was determined to be June 24, 2018. Due to a miscalculation
of McCroy’s release date related to the mandatory minimum,
DCS released McCroy on June 24, 2013, which was 5 years
before his actual release date.
   Following McCroy’s erroneous release from imprisonment,
he committed four new offenses between August 21 and
October 16, 2013, and was rearrested and convicted. In April
2014, McCroy received a cumulative sentence of 8 to 18
years’ imprisonment for the new convictions. McCroy finished
serving the sentences for the new convictions on October 18,
2022. However, due to McCroy’s erroneous early release for
his original offense, DCS recalculated McCroy’s release date
to add 1,825 days (5 years) of “deadtime” related to his origi-
nal sentence, making his new release date October 2027.
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
           MCCROY V. NEBRASKA DEPT. OF CORR. SERVS.
                      Cite as 32 Neb. App. 661
   After DCS moved his release date to October 2027, McCroy
filed a petition for writ of habeas corpus in the Douglas County
District Court. McCroy’s petition alleges the facts previously
set forth and also contends that upon his reincarceration in
April 2014 for the new offenses, his original sentence began
to run concurrently with the sentences imposed on the new
offenses. He claims that, in addition to completing the sen-
tences for the new offenses, he has also completed serving
the original sentence. He further contends, inter alia, that
DCS’ recalculation of his release date violated his right to due
process, that it constituted an ex post facto law, that the deter-
mination of his “deadtime” was a void judgment, and that the
modification of his release date by DCS was untimely.
   The district court denied McCroy’s petition for writ of
habeas corpus, finding:
         Having reviewed [McCroy’s] Petition for Writ of
      Habeas Corpus in its entirety, the Court finds that even
      accepting the allegations in the Petition for Writ of
      Habeas Corpus as true and drawing all reasonable infer-
      ences in favor of [McCroy,] [McCroy] has nonetheless
      failed to allege sufficient facts that would entitle him
      to relief in a habeas proceeding. [McCroy’s] allegations
      are not proper grounds for habeas relief. See Sanders v.
      Frakes, 295 Neb. 374, 379 (2016). [McCroy] has not
      alleged that the Court imposing the sentence lacked
      jurisdiction of the offense or the person of [McCroy]
      or that the sentence was outside the power of the Court
      to impose. Where the court has jurisdiction of the par-
      ties and the subject matter, its judgment is not subject
      to collateral attack; thus, a writ of habeas corpus will
      not lie to discharge a person from a sentence of penal
      servitude where the court imposing the sentence had
      jurisdiction of the offense and the person of the defend­
      ant, and the sentence was within the power of the court
      to impose. Gonzalez v. Gage, 290 Neb. 671, 861 N.W.2d
      457 (2015). The Petition for Writ of Habeas Corpus
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
           MCCROY V. NEBRASKA DEPT. OF CORR. SERVS.
                      Cite as 32 Neb. App. 661
     simply does not contain information that shows that
     [McCroy] is entitled to relief.
   McCroy timely appealed from the district court’s order. The
State filed a motion for summary affirmance. This court denied
that motion and ordered the appeal to proceed.
                 ASSIGNMENTS OF ERROR
   McCroy has identified 12 assignments of error that we
consolidate and restate into this global claim: The district
court erred in dismissing his petition for writ of habeas corpus
without a hearing because DCS had inaccurately calculated
his release date, resulting in DCS’ continuing illegal custody
of him.
                   STANDARD OF REVIEW
   [1] On appeal of a habeas corpus petition, an appellate court
reviews the trial court’s factual findings for clear error and its
conclusions of law de novo. Schaeffer v. Gable, 314 Neb. 524,
991 N.W.2d 661 (2023).
                           ANALYSIS
   [2] At the outset, we note that McCroy’s brief failed to
adhere to Neb. Ct. R. App. P. § 2-109 (rev. 2022) in multiple
ways, including a failure to include an argument section.
Depending on the particulars of each case, failure to comply
with the mandates of § 2-109(D) may result in an appellate
court waiving the error, proceeding on a plain error review
only, or declining to conduct any review at all. State v. Buol,
314 Neb. 976, 994 N.W.2d 98 (2023). In this case, we examine
the proceedings for plain error.
   [3] Plain error may be found on appeal when an error
unasserted or uncomplained of at trial is plainly evident from
the record, affects a litigant’s substantial right, and, if uncor-
rected, would result in damage to the integrity, reputation, and
fairness of the judicial process. State v. Guzman, 305 Neb.
376, 940 N.W.2d 552 (2020).
   Neb. Rev. Stat. § 29-2801 (Cum. Supp. 2022) provides:
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
           MCCROY V. NEBRASKA DEPT. OF CORR. SERVS.
                      Cite as 32 Neb. App. 661
         If any person, except persons convicted of some crime
      or offense for which they stand committed, or persons
      committed for treason or felony, the punishment whereof
      is capital, plainly and specially expressed in the warrant
      of commitment, now is or shall be confined in any jail
      of this state, or shall be unlawfully deprived of his or
      her liberty, and shall make application, either by him or
      herself or by any person on his or her behalf, to any one
      of the judges of the district court, or to any county judge,
      and does at the same time produce to such judge a copy
      of the commitment or cause of detention of such person,
      or if the person so imprisoned or detained is imprisoned
      or detained without any legal authority, upon making
      the same appear to such judge, by oath or affirmation,
      it shall be his duty forthwith to allow a writ of habeas
      corpus, which writ shall be issued forthwith by the clerk
      of the district court, or by the county judge, as the case
      may require, under the seal of the court whereof the per-
      son allowing such writ is a judge, directed to the proper
      officer, person or persons who detains such prisoner.
   McCroy brought a petition for writ of habeas corpus, alleg-
ing that he was being wrongfully detained due to a miscalcu-
lation of his sentence. In short, although he acknowledges he
was mistakenly released from prison on June 24, 2013, and
committed four new offenses thereafter, he alleges, inter alia,
that his sentences for the four new offenses should have run
concurrently with the time he served on the original sentence
once he was reincarcerated. As to that assertion, he claims that
if the time served for the new offenses ran concurrently with
the time he served for the original sentence for which he was
reincarcerated, he should have been released in October 2022,
rather than the currently calculated release date, in October
2027. The district court dismissed McCroy’s petition on the
basis that his petition failed to set forth sufficient facts that
would entitle him to relief in a habeas proceeding.
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
           MCCROY V. NEBRASKA DEPT. OF CORR. SERVS.
                      Cite as 32 Neb. App. 661
   In doing so, the district court cited language contained in
Sanders v. Frakes, 295 Neb. 374, 888 N.W.2d 514 (2016),
and Gonzalez v. Gage, 290 Neb. 671, 861 N.W.2d 457 (2015).
More specifically, the court found that McCroy’s petition failed
to state a claim because McCroy
      failed to allege sufficient facts that would entitle him to
      relief in a habeas proceeding, [so McCroy’s] allegations
      are not proper grounds for habeas relief. See Sanders v.
      Frakes, 295 Neb. 374, 379 (2016). [McCroy] has not
      alleged that the Court imposing the sentence lacked
      jurisdiction of the offense or the person of the defendant
      or that the sentence was outside the power of the Court
      to impose. Where the court has jurisdiction of the par-
      ties and the subject matter, its judgment is not subject
      to collateral attack; thus, a writ of habeas corpus will
      not lie to discharge a person from a sentence of penal
      servitude where the court imposing the sentence had
      jurisdiction of the offense and the person of the defend­
      ant, and the sentence was within the power of the court
      to impose. Gonzalez v. Gage, 290 Neb. 671, 861 N.W.2d
      457 (2015).
   Although this is an accurate statement of the law, the dis-
trict court’s analysis does not include case law specifically
approving habeas corpus as the proper procedure by which
a prisoner may challenge his or her continued incarceration
if success would result in discharge. See, e.g., Williams v.
Frakes, 315 Neb. 379, 996 N.W.2d 498 (2023); Schaeffer v.
Gable, 314 Neb. 524, 991 N.W.2d 661 (2023); Caton v. State,
291 Neb. 939, 869 N.W.2d 911 (2015) (superseded by statute
on other grounds as stated in Heist v. Nebraska Dept. of Corr.
Servs., 312 Neb. 480, 979 N.W.2d 772 (2022)).
   [4] In Williams v. Frakes, 315 Neb. at 387, 996 N.W.2d
at 505, the Nebraska Supreme Court recently noted that
“challenges to the validity of a prisoner’s confinement or to
particulars affecting its duration are the province of habeas
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
           MCCROY V. NEBRASKA DEPT. OF CORR. SERVS.
                      Cite as 32 Neb. App. 661
corpus.” See Muhammad v. Close, 540 U.S. 749, 124 S. Ct.
1303, 158 L. Ed. 2d 32 (2004).
   [5] In Schaeffer v. Gable, supra, the petitioner filed a peti-
tion for a writ of habeas corpus requesting absolute discharge
and release from custody on the basis that, under relevant
statutes, he had reached his mandatory discharge date. The
district court denied the petition, in part, on the basis that
the court lacked jurisdiction, and the petitioner appealed.
The Nebraska Supreme Court found that the district court
had jurisdiction to consider the petitioner’s petition. In doing
so, the Nebraska Supreme Court held “the allegations in his
petition were properly brought in a petition for a writ of
habeas corpus,” while reiterating that a writ of habeas corpus
is a statutory remedy in Nebraska that is available to those
persons falling within the criteria established in § 29-2801—
namely, those who are detained without having been con-
victed of a crime and committed for the same, those who are
unlawfully deprived of their liberty, or those who are detained
without legal authority. Schaeffer v. Gable, 314 Neb. at 534,
991 N.W.2d at 668.
   [6] And in Caton v. State, supra, the defendant filed a
petition for writ of habeas corpus, challenging DCS’ con-
tinuing exercise of custody after the defendant was similarly
discharged from custody and then taken back into custody
after DCS realized the mandatory discharge date had been
erroneously calculated. In analyzing the petition, the Nebraska
Supreme Court acknowledged that “[t]he habeas corpus writ
provides illegally detained prisoners with a mechanism for
challenging the legality of a person’s detention, imprison-
ment, or custodial deprivation of liberty.” Caton v. State, 291
Neb. at 942, 869 N.W.2d at 914. Following that statement, the
Supreme Court noted that “[t]he State agrees that habeas cor-
pus was the proper procedure for [the defendant] to challenge
[DCS’] exercise of custody.” Id.
   Following that same reasoning, we find that McCroy’s
petition for habeas corpus likewise challenges the legality
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
           MCCROY V. NEBRASKA DEPT. OF CORR. SERVS.
                      Cite as 32 Neb. App. 661
of his continued detention under what he perceives to be an
error in DCS’ calculation of his required release date, which
he argues predates his petition. And, although we express no
opinion on the merits of McCroy’s allegations, we find that a
petition for writ of habeas corpus was the proper procedure
for challenging DCS’ continued exercise of custody and that
the district court plainly erred in dismissing it on the face of
the pleadings.
                         CONCLUSION
   Having found that a writ of habeas corpus is the correct
procedure for McCroy to challenge DCS’ calculation of his
release date, we reverse, and remand with directions for the
district court to consider McCroy’s petition on its merits.
                  Reversed and remanded with directions.
